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Vincent Riggs, Fayette Circuit Clerk
120 N. Limestone, Raom C-103
Lexington, KY 40507-1152

JANET M. NORTON
2701 EASTPOINT PARKWAY
LOUISVILLE, KY 40223

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Presiding Judge: HON. JULIE M. GOODMAN (622397)

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AOC-E-105 Sum Code: Cl

Rev. 9-14 Case #: 20-CI-03419

Court: CIRCUIT
County: FAYETTE

Commonwealth of Kentucky
Court of Justice Courts.ky.gov

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Plantiff, THOMAS, M.D., RAMON VS. BAPTIST HEALTH MEDICAL GROUP, INC., Defendant

TO: JANET M. NORTON
2701 EASTPOINT PARKWAY
LOUISVILLE, KY 40223

Memo: Related party is BAPTIST HEALTH MEDICAL GROUP, INC.

The Commonwealth of Kentucky to Defendant:
BAPTIST HEALTH MEDICAL GROUP, INC.

You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney

on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the

document delivered to you with this Summons.
Vinci

Fayette Circuit Clerk
Date: 11/11/2020

 

 

Proof of Service
This Summons was:
C1 Served by delivering a true copy and the Complaint (or other initiating document)

To:

 

CJ Not Served because:

 

 

Date: , 20
Served By

 

Title

 

 

Summons ID: 292728820224866@00000937633
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THOMAS, M.D., RAMON VS. BAPTIST HEALTH MEDICAL GROUP, INC. 7 /
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FILED ELECTRONICALLY
COMMONWEALTH OF KENTUCKY
FAYETTE CIRCUIT COURT

CASE NO.

RAMON THOMAS,M.D. | . PLAINTIFF

v. COMPLAINT

BAPTIST HEALTH MEDICAL
GROUP, INC. DEFENDANT

Registered Agent: Janet M. Norton
2701 Eastpoint Parkway
Louisville, Kentucky 40223

OK

Comes Ramon Thomas, M.D. (“Dr. Thomas”), by counsel, and for his Complaint against
Baptist Health Medical Group, Inc. (“BHMG”), and does hereby state as follows:
JURISDICTION AND VENUE

1. Jurisdiction is proper in this Court pursuant to KRS 344.450 and other applicable
law.

2. Venue is proper in this Court because the events giving rise to this action occurred
in Lexington, Kentucky, and pursuant to the employment agreement described below.

FACTS

3, Dr. Thomas is an African American male who was over 40 years of age at all times
relevant to this Complaint.

4, Dr. Thomas is Board Certified in obstetrics and gynecology (“OBGYN”).

5. Dr. Thomas is licensed to practice medicine in Kentucky by the Kentucky Medical

Licensure Board.

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6. Dr. Thomas executed a Physician Employment Agreement with BHMG on January
18, 2017 (“PEA”), a true copy of which is attached as Exhibit A. The PEA contains the following
_televant provisions:

a. The term of the PEA began on March 6, 2017, and automatically extended for
successive one-year terms;

b. Dr. Thomas’s compensation is set forth in Exhibit B of the PEA which sets his
annual base compensation at $300,000 per year; he received an annual
productivity bonus compensation; and he was eligible for a quality incentive
bonus of up to $30,000 per year, along with other benefits that were available
to all full-time employees of BHMG. His maximum annual compensation with
salary and quality and wR VU bonuses was $452,646;

c. BHMG agreed to provide, at its cost, professional liability coverage;

d. BHMG had the right to terminate Dr. Thomas’ employment for cause upon the
occurrence of certain events, none of which are applicable here;

e. Either party had the right to terminate the PEA by giving sixty (60) days’
written notice to the other; and

f. Any dispute regarding the PEA is to be litigated in a state or federal court in the
county where the hospital in which Dr. Thomas is practicing is located.

7. For the entire period of his employment, Dr. Thomas provided services to the
patients of BHMG at Central Baptist Hospital (“the Hospital”) in Fayette County, Kentucky.

8. Other physicians employed by BHMG and providing OBGYN services to patients
at the Hospital when Dr. Thomas was hired included: John Voss, M.D., a Caucasian male over 40

years of age (“Dr. Voss”); Brad Youkillis, M.D., a Caucasian male over 40 years of age (“Dr.

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Youkillis”); Blake Bradley, M.D., a Caucasian male over 40 years of age (“Dr. Bradley”); and
James O’Neill, M.D., a Caucasian male over 70 years of age (“Dr, O’Neill”).
9... In January 2018, Dr. Voss announced his retirement.

10. The OBGYN physicians at the Hospital were told by Hospital Administration that
only females were to be interviewed or hired to replace Dr. Voss.

11. Karen Hill (“Ms. Hill”), the Chief Nurse Operator and COO at the Hospital, was
responsible for interviewing and hiring the replacement OBGYNs. Ms. Hill is a Caucasian female.

12. In March 2018, the Hospital’s search for the replacement for Dr, Voss began in
earnest.

13. Only two viable candidates for the replacement of Dr. Voss were identified, both
of whom were Caucasian females under 40 years of age.

14. In April 2018, the OBGYN physicians were informed by Administration at the
Hospital that the Hospital intended to hire both female candidates.

15. Ms. Hill sent an email to Dr. Youkillis after a notice of retirement was provided by
Dr. Voss that the next OBGYN to be hired had to be a female.

16. Dr. Youkillis and Dr. Thomas expressed concern to Administration on the negative
impact on their practices from hiring two new OBGYNs, since a portion of the physicians’
compensation was based on the number of wRVUs earned, which directly relates to the number of
patients each physician has. Those concerns were set forth in emails written by Dr. Youkillis to
Douglas Reed (a Regional VP for BHMG), Stephen Heet, M.D. and Ms. Hill.

17, In August 2018, BHMG hired Mary Beth Baylon, M.D. (“Dr. Baylon”) to provide
OBGYN services at the Hospital. Dr. Baylon is a Caucasian female believed to be under the age

of 40 at the time she was hired.

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18. In October 2018, BHMG hired Claire Fish, DO (“Dr. Fish”) to provide OBGYN

services at the Hospital. Dr. Fish is a Caucasian female believed to be under the age of 40 at the

_time she was hired.

19, On October 10, 2019, BHMG sent a letter to Dr. Thomas terminating his
employment (“Letter”), attached as Exhibit B. The Letter stated that the termination was pursuant
to 9.d of the PEA, which allowed either party to terminate it without cause, with a 60-day notice
to the other. Section 9.d of the PEA states in pertinent part:

Upon no less than sixty (60) days’ written notice . . . this Agreement may be terminated by
either party, for any reason.

20. In that 9.d of the PEA requires sixty (60) days’ notice prior to the termination of
Dr. Thomas, the Letter states “you will not be scheduled by Baptist to provide any further services
under the Agreement.”

21. By prohibiting Dr. Thomas from working the sixty (60) days that remained in the
PEA’s term after notice was given in the Letter, BHMG caused him to lose pay both through his
quality incentive bonus and his productivity bonus.

22. Prior to receipt of the Letter, Dr. Thomas had a conversation with Greg Cooper,
M.D. (“Dr. Cooper’), who told Dr. Thomas he would be receiving a notice of termination of his
employment, When Dr. Thomas asked for a reason, he was told by Dr. Cooper “because you are
not the right fit”.

23. Promptly after being informed by Dr. Cooper that he was being terminated, Dr.
Thomas delivered a letter to Dr. Isaac Myers, II dated October 7, 2019 in which he expressed
astonishment as to “where this decision has arisen from” and asking for a reconsideration allowing

him to remain employed by BHMG (attached as Exhibit C).

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24, Asaresult of Dr. Thomas’ discharge, there are no African Americans employed by
BHMG to provide OBGYN services at the Hospital.

25.___ Upon information and belief, there are very few African Americans employed by
BHMG to provide any other services to patients at the Hospital.

26. After his discharge, Dr. Thomas filed a complaint against BHMG with the EEOC,
which declined to pursue his claim and issued him a right to sue letter dated August 18, 2020.

COUNT I
VIOLATION OF THE KENTUCKY CIVIL RIGHTS ACT

27. Each of the foregoing allegations is incorporated as if fully set forth hérein.

28. KRS 344,040 makes it an unlawful practice for an employer to discharge any
individual because of the individual’s age of over 40, because of their sex and because of their

race.

29. Dr. Thomas was discharged by BHMG because he is over 40 years of age, because

of his race, and because of his sex.

30. As a result of BHMG’s discrimination against him, Dr. Thomas has suffered

damages in excess of the jurisdictional limits of the Court.
COUNT II
AGE DISCRIMINATION AND EMPLOYMENT ACT VIOLATION
31. Each of the foregoing allegations is incorporated as if fully set forth herein.
32. The Age Discrimination and Employment Act (“ADEA”), 29 U.S.C. § 621 et seq.,
prohibits discrimination of an employee who is at least forty (40) years of age on the basis of age.

33. Dr. Thomas, a male over 40 years of age and an African American, was replaced

by two females who are under 40 years of age and Caucasian.

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34. Because Dr. Thomas was discharged because he is over 40 years of age, he has

suffered damages in excess of the jurisdictional limits of the Court.
_ 35... BHMG has acted willfully in discharging Dr. Thomas on the basis of his age, and
Dr. Thomas is therefore entitled to recover liquidated damages pursuant to the ADEA.
COUNT Il
VIOLATION OF THE U.S. CIVIL RIGHTS ACT

36. Each of the foregoing allegations is incorporated as if fully set forth herein.

37. The U.S. Civil Rights Act, 42 U.S.C. § 2000¢, et seq. prohibits the discrimination
against an employee on the basis of gender, gender plus age, race, and race plus age.

38. Dr. Thomas was fired and then replaced by two females who are under 40 years of
age and Caucasian.

39. | Numerous circumstances exist to show that BHMG has discriminated against Dr.
Thomas on the basis of his gender, including, but not limited to, the fact that he is more qualified
than one or both of the two females who replaced him, that the individual responsible for
interviewing and hiring his replacement(s) is female, that only females were considered when the
new OBYNs were hired and, during the period Dr. Thomas worked with Dr. Baylon and Dr. Fish,
his production far exceeded their production.

40. Dr. Thomas was discharged in substantial part because he is an African American,

male, and over the age of 40.

41. Dr. Thomas has suffered damages in excess of the jurisdictional limits of the Court

as aresult.

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COUNT IV
ATTORNEY’S FEES
42. Each of the foregoing allegations is incorporated as if fully set forth herein.
43. If Dr. Thomas prevails in this action, the KCRA, the ADEA, and Title VII permit
this Court to award him attorney’s fees.
44, As a result of BHMG’s violation of KCRA, the ADEA, and Title VII, Dr. Thomas
has incurred and will continue to incur attorney’s fees.
45. _Asaresult of its violation of law, BHMG is obligated to compensate Dr. Thomas
for his attorney’s fees, which will be in an amount of the jurisdictional limits of the Court.

COUNT V
PUNITIVE DAMAGES

46. Each of the foregoing allegations is incorporated as if fully set forth herein.

47, The actions taken by BHMG were taken for a wrongful purpose and with the intent
of harming Dr. Thomas.

48. The KCRA and Title VII provide for the award of punitive damages.

49, The actions taken by BHMG have been intentional and malicious, and/or reckless,
as defined by common law and/or statute and have had a sufficiently detrimental impact on Dr.
Thomas that he is entitled to recover punitive damages in an amount in excess of the jurisdictional
limits of the Court.

WHEREFORE, Dr. Thomas demands a judgment in his favor on all counts, an award of
damages in an amount in excess of the jurisdictional limits of the Court, an award of liquidated

and punitive damages, a trial by jury, his attorney’s fees and costs, and all other relief to which he

may appear entitled.

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Vincent Riggs. Fayett

MILLER, GRIFFIN & MARKS, P.S.C.

271 W. Short Street, Suite 600

Lexington, Kentucky 40507

Telephone: (859) 255-6676

Facsimile: (859) 259-1562

By: Thomas W. Miller
THOMAS W. MILLER
twm@kentuckylaw.com
ELIZABETH C. WOODFORD

ewoodford@kentuckylaw.com

ATTORNEYS FOR PLAINTIFF

Vincent Riggs, Fayette Circui

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HLOYMENT AGREEMENT (“Agreement”) is. by
r LEDICAL GROUP, INC. 2 Kentucky nonprofit
corporation ("Baptist"), and RAMON THOMAS, M.D., a physician duly licensed to practice
medicine in the Commonwealth of Kentucky ("Physician").

; ' erancd of its charitable mission, and with the expectation of

providing a publio and community benctfit Baptist has created and established a practice located
at 1720 Nicholasville Road, Suite 411) in Lexington, Kentucky (“Prestice”) to provide
obstetrics, gynecolopy and related services (“Services”) in a manner consistent with Baptist’s
and Baptist Healthcare System, Inc.ts (“BHS") charitable and health care missions; and

WHEREAS, Physician is| board certified in obstetrics and gynecology,

_ Physician desires to provide Baptist with the benefit of Physician's knowledge, cranes,

; Services and patient relations, and agrees iy render such Services in accordance with the policies

’ of Baptist and BHS, subject to the terms anil conditions of this Agreement; and

NOW, THEREFORE, in

/ . nsidcration of the premises and covenants contained
herein aud intending to be legally bound m

creby, the parties agree as follows:

_ 1 Employment. Baptist he: b employs Physician to perform the Services, and
Physician hereby accepts such employmen upon afl of the terms and conditions set forth herein,

 
 

 

Anything herein to the contrary notwithstinding, Physician’s loyment and this Agreement
- are conditioned upon and shall be of np force or effect until (a) Physician’s successful
completion of Baptist’s pre-employment soreening process, including but not limited to criminal
and background checks, reference checks | drug screenitig tests, credentialing, malpractice and
i (b) approval ; this| Agreement by the Baptist Board of Directors, if
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pare Carn SEY “ts 2/7] Cy)

_ 2. Térm. The term of this |Agrcement shall be for a period of one (1) year, MAac,j
beginning on-MigS=R0tF (the “Effective Date”), and contimiing through yoerii<aa—apee %
subject to earlier termination as wet forth hefein (the “Initial Term”). Thereafter, this Agreement  29-

, Shall automatically renew for successive oni

p (I) year terms (cach a “Renewal Term”), subject to
"earlier termination as set forth hereit. Thejini mt hei 9} 241,

nitial Term and Renewal Term are referred to h

 

collectively as the “Term.”
3. Duties,

e. Physician agrees to provide Services to Baptist Patients (as defined below)
and agrees to work primarily at thé aad at other locations designated by Baptist and
mutually agreed upon by the parties, For ses of this Agreement, "Baptist Patients" shall
refer to all patients for whom a physici employed or engaged by Baptist at the Practice
13994,tth (BEMG) 01.11.17
‘Ramon Thonias, M.D,

(BastlLexiOB-GYN) Page 1 of 23
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EXHIBIT A

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performs or has performed Services, whether at the Practice sites or elsewhere, during the course
and scope of Physician’s employment by Baptist, notwithstanding that some or all of such
Baptist Patients may have received Services from Physician prior to Physician’s employment by
Baptist, or from another employéd or engaged physician or other employée of the Practice. As
an employee of Baptist, Physician agrees to render Services solely and exclusively to Baptist
Patients,

b. Physician understands that Physician will be regularly scheduled to work
at least forty (40) hours per week, and at least cighty (80) hours per bi-weekly pay period,
exclusive of call coverage. Physician agrees to be available to provide patient care at least five
(5) days per week. Cali coverage for the Practice shall be shared proportionately with other
physicians employed by Baptist in the Prectice, and shall include coverage shifts consisting of
weekday call (Monday through Thursday), weekend call (Friday, Saturday and Sunday) and
holidays, Physician shall also provide call coverage for the emergency department at Baptist
Health Lexington (“Hospital”) in accordance with Hospital’s medical staff by-laws rules and
regulations and in rotation with other physicians in Physician’s specialty that are active members
of Hospital’s medical staff.

©. Baptist agrees that it will at no time knowingly issue to Physician any
direction or impose upon Physician any requirements in complying with which Physician could
foreseeably violate the professional ethics and mandates of Physician’s profession. Physician
shall at ali times exercise independent medical judgment and control. Nothing in this Agreement
shall be construed as giving Baptist the authority to direct Physician's practice of medicine.
Physician agrees at all times to act, practice Physician’s profession, and perform Physician’s
duties under this Agreement in accordance with such standards of professional ethics and
practice, and all statutes, rules and regulations as may from time to time be applicable to
Physician or to any Services that Physician may render, including any policies and procedures
established by. Baptist or BHS that are applicable to Physician as an employee of Baptist.
Physician agrees that, except as otherwise specifically provided in this Agreement, the policies,
procedures and employee handbook issued by Baptist shall not create an employment contract
for a specific time or create any rights in favor of Physician.

d. If it is necessary for Physician to. refer Baptist Patients to a different
provider or practitioner for additional services end/or treatment, Physician agrees to refer Baptist
Patients to appropriate providers and practitioners affiliated with, owned or operated by Baptist,
BHS or its Affiliates (as defined below). For purposes of this Agreement, an “Affiliate” of an
entity shall be any entity that controls, is controlled by, or is under common contro] with such
other entity. This Section will not apply if (a) a Baptist Patient expresses a preference for s
different provider or practitioner; (b) a Baptist Patient’s insurer determines the provider or
practitioner; or (c) such a referral is not in the Baptist Patient’s best medical interests in
Physician’s professional judgment.

e.. Physician's duties shall include the essential functions of employment set
forth in Exhibit A, attached hereto and incorporated by reference herein, as may be amended

13994, (BHMG) 01,1117
Physician Employment Agreement
Ramon Taomas, M.D.

(Hast/Lex/OB-GYN) Page 2 of 23

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from time to time by mutual agreement, as well as the essential duties required of a physician in
private practice.

Gy Compensation and Benefits,

a. Baptist shall pay Physician, and Physician agrees to accept, the
compensation described in Exhibit B, attached hereto and incorporated herein by reference, for
Services performed in accordance with this Agreement, Physician shall be entitled to receive
those benefits customarily afforded to physician-employees of Baptist in addition to those
specifically described in Exhibit B. ‘These benefits are subject to change and may be modified
by Baptist without modification to this Agreement, as sre all benefits provided to Baptist
employees, and are subject to the specific terma and conditions of the applicable policies and/or
plans relating to such benefits.

b. Physician’s compensation shall be periodically reviewed by Baptist
throughout the Term of Physician’s employment to ensure that such compensation is
commensurate with Physician’s productivity, is consistent with the principles of fair market
value, is commercially reasonable given the Services being provided by Physician and the
market in which such Services are provided. Further, in the event that Baptist determines that an
adjustment to Physician’s compensation is necessary as a result of such review or significant
changes to the Medicare reimbursement methodology established by the Centers for Medicare
and Medicaid Services (“CMS”) or in order to satisfy the criteria set forth above, Physician and
Baptist shall meet to discuss necessary modifications to Physician’s compensation and this
Agresment. In the event that the parties are unable to agree upon such modifications, Baptist or
Physician may terminate this Agreement upon at least ninety (90) days prior written notice to the
other party.

5. Licenses and Medical Staff Membership.

a. Prior to providing Services under this Agreement, Physician shal! obtain,
and thereafter maintain while employed, a currently valid and unrestricted license to practice
medicine in the Commonwealth of Kentucky. Furthermore, Physician shall hold a currently valid
and unrestricted Drug Enforcement Administration (“DEA”) registration number. Physician
agrees to provide promptly a copy of said license and DEA registration to Baptist upon request.
Physician agrees to deliver immediately to Baptist, upon receipt, a copy of any decision or action
adverse to Physician's DEA registration number or Physician’s license to practice medicine in

‘Kentucky or in any other state. Baptist will assume financial responsibility and provide the

administrative assistance required to maintain such license and registration.

b. As an employee of Baptist, Physician shall maintain medical staff
membership and privileges Hospital and at other hospitals and health care facilities as ressonably
requested by Baptist and mutually agreed upon by Baptist and Physician. Baptist will assume
financial responsibility and provide the administrative assistance required to acquire such
membership and privileges. Physician is not prohibited from maintaining such status at any
other hospital and shall provide, upon receipt, a copy of any decision or adverse action to
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(East/Lex/OB-GYN) Pago 3 af 23

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Physician’s medical staff membership or privileges st any hospital or health care facility.
Physician shall further immediately notify Baptist, in writing, if Physician is subject to a focus
review (or equivalent peer review investigation or inquiry) at any hospital where Physician
maintaine medical staff privileges, including but not limited to,-a BHS hospital. Physician
represents and warrants that Physician’s medical staff privileges have not been suspended or
terminated at any hospital where Physician maintained medical staff privileges at any tine and
that Physician is not subject to a focus review (or equivalent peer review investigation or
inquiry) at any hospital where Physician maintains medical staff privileges, including but not
limited to, a BHS hospital.

6. Physician shall immediately notify Baptist, in writing, if Physician
becomes aware of any information indicating that Physician is or may be the target, subject, or
Witness in any inquiry, investigation, study, or proceeding involving any agency, guthority,
entity, or contractor, whether governmental, public or private. This includes, but is no way
limited to, inquiries, investigations, quality related reviews, studies, or proceedings, conducted
by the United States Department of Justice, Federal or State Attorney Generals, Federal or State
Health and Human Services agencies, drug enforcement agencies, state licensing boards,
professional societies, any government sponsored health care program, including Medicare,
Medicaid or other public healthcare benefit programs, and third party payors, including Managed
Care Programs.

d. Physician hereby represents and warrants that Physician is not aware of
any information indicating that Physician is or may be the target, subject, or witness in any
inquiry, investigation, study, or proceeding involving any agency, authority, entity, or contractor,
whether governmental, public or private, This includes, but is in no way limited to, inquiries,
investigations, quality related reviews, studies, or proceedings conducted by the United States
Department of Justice, Federal or State Attorney Generals, Federal or State Inspector Generals,
Federal or State Health and Human Services agencies, State Licensing Boards, professional
societies, any government sponsored health care program including Medicare and Medicaid, any
private or public health care benefit programs, or third party payors, including Managed Care
Programs.

6. Insurance and Cooperation.

a. Physician must be eligible at all times to be insured for professional
liability insurance carrying the limits and subject to the deductibles and retention desired by
Baptist. Baptist will provide professional liability coverage with limits of One Million Dollars
($1,000,000.00) per cocurrence and Three Million Dollars ($3,000,000.00) in the aggregate for
Services Physician performs on behalf of Baptist pursuant to and during the Term of this
Agreement. Furthermore, Baptist will provide tail coverage for claims made after termination of
Physician’s employment, which are related to Services performed on behalf of Baptist and
during the period in which Physician is employed by Baptist. Physician agrees to deliver
promptly to Baptist, upon receipt, a copy of any notice of claim against Physician involving
Physician's liability insurance or any adverse action, change or modification to the terms and
conditions of Physician's insurance coverage.

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b. Physician must obtain and maintain Physician's own professional liability
coverage, at Physician’s own expense, for professional services performed outside the scope of
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defined below).

C. In the event Physician becomes aware of any alleged injury arising out of
the provision of Services, Physician has a duty to give Baptist written notice containing the
particulars sufficient to identify the allegedly injured person, place and circumstances of the
alleged incident. Further, Physician agrees to cooperate with Baptist in the conduct of lawsuits
and agrees to attend depositions, hearings and trials as required by legal counsel for Baptist.

a Physician must obtain and maintain professional liability coverage, at
Physician’s own expense, for services performed prior to Physician's employment with Baptist
(‘Prior Acts Tail Coverage”), unless Physician’s liability coverage immediately prior to
employment was ococurrence-based coverage. Physician agrees to provide a certificate of such
coverage to Baptist.

7. Outside Activities. Baptist, in its sole discretion, may authorize, in writing,
Physician to engage in professional activities or services outside the scope of Physician’s
employment with Baptist, including but not limited te service as a consultant, lecturer, expert
witness or author (“Ontside Activities”), and to receive outside compensation for such Outside
Activities. Physician shall submit a written request to Baptist to participate in Outside Activities.
When Physician engages in Outside Activities, Physician is acting solely in Physician's
individual capacity and not as an employee, agent or representative of Baptist, BHS or their
Affiliates. Accordingly, the professional liability insurance coverage provided to Physician
pursuant to this Agreement shall not cover such Outside Activities.

8. _ Assigument and Billing,

a. On behalf of Physician, Baptist will procure and maintain, and Physician
agrecs to assist Baptist and be subject to, contracting or participating provider status in such
health maintenance organizations, preferred provider organizations, governmental plans
(including Medicare and Medicaid programs), managed care plans, and any other third party
payor plans or networks (collectively, “Managed Care Contracts”) as deemed necessary by
Baptist; provided, however, that Physician cannot enter into or renew such contracting status
unless Baptist suthorizes such participation. Physician agrees to provide Baptist with notice of
any correspondence or communication from any third party payor (including managed care
plans, HMO’s, PPO’s and self-insured plans) conceming Physician’s status as a provider
participating in such payor’s plans or networks. Physician agrees to cooperate with Baptist and
take all required actions for the purpose of assigning or transferring to Baptist all outstanding
professional service agreements (including but not limited to coverage and medical director
agreements), Managed Care Contracts, including but not limited to those with health care
providers, managed care organizations, governmental payors, employers, insurance companies
and third party administrators, to which Physician is party for the provision of professional

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services, Physician also agrees to assign to Baptist all proceeds of all fees collected and all rights
to the proceeds of billings, including but not limited to all fees owed or received pursuant to
Managed Care Contracts, for the professional services of Physician rendered to Baptist Patients
and/or-for the-benefit of-or om behalf of Baptist or Practice during the course of Physician's
employment by Baptist. As a condition of this Agreement, Physician hereby assigns all of
Physician's right to bill and receive Medicare and Medicaid payments, and Baptist will bill or
atrange for billing Medicare and Medicaid for Physician's services rendered to Baptist Patients.
Physician agrees to participate in any Accountable Care Organizations or clinical integration
program, upon the request of Baptist.

b. The parties acknowledge that from time to time during the Physician’s
employment with Baptist, incentive programs may exist or be created to encourage the use of
medical technology and reporting of quality indicators to improve health care, including but not
limited to Medicare’s ¢-Prescribing Incentive and Physician Quality Reporting Initiative.
Furthermore, the Health Information Technology for Economic and Clinical Health
(AITECH") Act, which is included in the American Recovery and Reinvestment Act of 2009,
authorizes additional reimbursement payments from Medicare and Medicaid to eligible
physicians and hospitals that adopt and use certified electronic health records in a meaningful
manner, as defined by the Secretary of the Department of Health and Human Services.
Physician agrees to cooperate with Baptist in the participation of such incentive programs and
the adoption of such technology and compliance with reporting. Physician further agrees to
assign to Baptist all incentive payments received or owed from Medicare, Medicaid, and any
other entities or governmental agencies responsible for administering such programs and related
to Physician’s participation in such programs, adoption of such technology and reporting during
the course of Physician’s employment by Baptist, regardless of whether such incentive
payments are received during or after the Term of Physician's employment.

c. Physician will document patient records in a timely and appropriate
manner in accordance with the standards of all applicable accreditation agencies, CMS, and the
Hospital’s medical staff bylaws. Physician acknowledges that Baptist and Hospital rely on
timely and appropriate patient record documentation in order for Baptist and Hospital to submit
claims for reimbursement, related to the professional medical services provided by Physician.
Physician wiil utilize best efforts to assist Baptist and Hospital in complying with applicable
rules, laws and regulations regarding billing, coding and reimbursement for professional
services performed by Physician and agrees to participate in billing/coding education and
training upon the request of Baptist. Physician shall be responsible for any costs and expenses,
including but not limited to attorneys’ fees, judgments, fines, penalties, settlements,
recoupments or offsets paid by or imposed against Baptist, Hospital, or any Affillate of Baptist
or Hospital, in connection with any actual or threatened claim, action, suit, proceeding, or audit,
whether criminal, civil, administrative, legislative, investigative, or other (including any appeal
thereto) associated with Physician’s third-party claims for reimbursement submitted prior to the
Term of this Agreement.

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9. Terminatfon.
a. Baptist shall have the right to terminate this Agreement immediately upon
the occurrence of any of the ing:

i, any suspension, restriction, or revocation of Physician's DEA
registration number or Physician’s license to practice medicine in the Commonwealth of
Kentucky, regardless of the pendency of any appeal of such suspension, curtailment, or
tevocation;

ii, _ termination, limitation, or any suspension of Physician's medical
staff privileges or membership at any hospital at which Physician maintains staff
Privileges or membership, including termination, limitation, or suspension, for any
reason, Of Physician's medical staff privileges or membership at Hospital or any other
hospital owned or managed by BHS or any of its Affiliates; however, Physician may
voluntarily relinquish Physician’s medical staff privileges at hospitals where Physician

no longer wishes to practice without triggering Baptist’s right to termination unless the

relinquishment is in liew of disciplinary action by such hospital or its medical staff:

ili. any expulsion of, suspension of, or other disciplinary action
against Physician by a professional medical organization as a result of professional
misconduct or resignation by Physician from any professional medical organization
under threat of disciplinary action for professional misconduct;

iv. Physician's failure or inability to qualify or continue eligibility for
professional liability coverage to cover all essential functions of Physician's employment
set forth in this Agreement;

¥. imposition of any sanctions, including exclusion, suspension, or
other limitation, relating to Physician's Medicare or Medicaid participation;

vi.  Physician’s permanent disability (for purposes of this Agreement,
Physician shall be deemed to have a “permanent disability” if Physician meets the
defmition of “permanent disability” in Physician’s long term disability insurance policy if
such a policy is maintained by Physician and, in the absence of such a policy, Physician’s
disability shall be determined by a physician selected and compensated by Baptist with
said physician’s judgment being final and binding on the parties as to the issue of
permanent disability);

vii, death of Physician:

viii. activities constituting a felony or misdemeanor involving theft,
dishonesty or moral turpitude by the Physician;

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ix. inattention to or neglect of the duties to be performed by Physician
that adversely affects patient care;

xi. breach by the Physician of the AMA Code of Medical Ethics;

xii. _ failure to qualify for or continue as a participating provider for any
managed care plans that contract with Baptist and Practice;

xiii. jeopardy of the health and/or safety of patient(s) or other
employees as a result of actions or omissions of Physician;

xiv. _ willful or intentional noncompliance with any terms or conditions
of this Agreement and/or the applicable policies and procedures of Baptist, BHS or
Hospital;

xy, Physician's failure to resume job responsibilities after exhausting
leave of absence permitted by applicable policies and procedures of Baptist or BHS;

xvi. Physician fails or refuses to perform or fulfill Physician's duties,
obligations or covenants under this Agreement or breaches any of Physician’s
representations and warrantics herein, which breach is not cured within ten (10) business
days of Physician’s receipt of written notice describing such breach in detail from
Baptist; or

xvii. Physician’s board certification expires without renewal or is
revoked, restricted, limited or suspended in any way.

b. This Agreement may be terminated by either party for the breach by the
other party of any material term of this Agreement, including but not limited to substantial
failure to pay sums due under this Agreement, upon the expiration of ten (10) business days after
receipt of written notice of the breach if the breach or non-performance has not been cured.

Cc. Baptist may terminate this Agreement upon at least sixty (60) days’
written notice to Physician if the parties are unable to agree upon modifications to this
Agreement necessary for Physician’s compensation to comply with Section 4.b. of this
Agreemient.

d, Upon no Jess than sixty (60) days’ written notice (the “Notice Period”),
this Agreement may be terminated by either party, for any reason. Physician shall not take more
than ten (10) days of ATO during the Notice Period, excluding ATO for holiday(s) upon which
the Practice is closed. Physician shall not take time away from the Practice to attend continuing
medical education during the Notice Period. If Physician fails to comply with all terms and
conditions of this Agreement for the duration of the Notice Period, Physician shall pay to Baptist

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as liquidated damages, not as a penalty, an amount equal to sixty (60) days of Physician’s then-
current base compensation as set forth in this Agreement.

es The parties may ‘terminate this Agreement by mutual, written agreement

effective as of the date mutually agreed by the parties,

f, Upon termination of this Agreement, Physician agrees to volunturily
relinquish Physician’s medical staff appointment and privileges at Hospital upon request of
Baptist.

g. Upon termination of Physician’s employment, Physician wil) be entitled to
the compensation eamed by Physician prior to the date of termination as provided for in this
Agreement, In the event of a termination pursuant to Section 9.d. above, the foregoing is
conditioned upon Physician's adherence to the terms of this Agreement throughout the entirety
of the Notice Period.

h Upon termination of Physician’s employment for any reason, the parties
agree to coaperate in the orderly transfer of Baptist Patients treated by Physician during the
course of Physician’s employment to another physician associated with Baptist. In fulfillment of
this obligation, the parties agree to take all steps necessary for Baptist to effect an orderly
transfer of patient records and information. Such steps include, but are not limited to, assisting
with the transfer of Baptist Patients to other physicians employed by Baptist or an Affiliate of
Baptist and cooperating with the provision of communication to all Baptist Patients treated by
Physician informing them: (i) that Physician is or will no longer be employed by Baptist, and (ii)
of the name of successor physician or physicians who will be available to treat such patients at
the Practice or at other sites selected by Baptist.

10. Restrictive Covenant and Non-Solicitation.

a. During Physician’s employment and, except for those circumstances listed
herein, during the period ending one (1) year after the last date of Physician’s employment (the
“Restricted Period"), and within Fayette County (the "Restricted Territory"), Physician shall
not, dircotly or indirectly own, manage, operate, join, have an interest in, control or participate in
the ownership, management, operation or control of, or be employed or otherwise connected
with, any corporation, partnership, limited liability company, sole proprictorship or other
business entity that now or hereafter;

i offers or provides Services in actual or potential competition with
the Practice; or

ii. offers any health care services offered by Baptist, BHS or an
Affiliate.

b. Section 10(a)(i) and 10(a)Gi) shall not apply in the following
circumstances after termination of this Apreement:

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i. In the event this Agreement is properly terminated by Physician as
a result of Baptist’s breach that is not cured as provided herein;
ii. In the event Baptist or an Affiliste ceases to offer Services in the
Restricted Territory;

it, In the event Baptist terminates this Agreement without cause;

iv. In the event this Apreement is terminated properly by Physician
and Physician engages in the private practice of medicine, 50 long as (2) Physician is
practicing as a solo practitioner or as an owner or employee of a practice that is wholly
owned by licensed physicians and not managed by a separate entity; (b) Physician
maintains active membership on the Hospital medical staff, unless Baptist has requested
that Physician volunturily relinquish membership as set forth herein, in which case this
requirement shall not be applicable; and (c) Physician’s practice does not engage in,
Manage, operate or own any interest in an entity that offers any health care services

offered by Baptist or an Affiliate, except for such services or equipment customarily
found in a private medical practice in Physician’s specialty(ies);

¥. In the event Physician terminates this Agreement for cause; or

vi. In the event Baptist or Physician terminates this Agreement
pursuant to Section 4.b. or Section 9.c.

c, During Physician's employment and during the Restricted Period,
Physician agrees to not directly or indirectly solicit, disrupt or attempt to disrupt the relationship,
contractual or otherwise, between Baptist and any patient, or employee of Baptist. Physician
further agrees not to, directly or indirectly:

i. solicit any person as a patient who is a Baptist Patient or who has
been a Baptist Patient at any time during the previous one-year period ending with the
date of the termination of employment;

ii. send announcements or publications regarding new offices or
employment affiliations targeted toward patients identified herein, but mass mailings to
the general public and public announcements shall be permitied;

iii. | remove patient records from the Practice or from Baptist's
Possession, unless a patient requests the transfer of his or her records in writing, and then
Physician may only obtain copies of such records during business hours: or

tv. _—_ take, copy, or distribute in any way lists of Baptist Patients,

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Physician Employment Agreement

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od, Section 10(c), as it relates specifically to patients, shall not apply to those
patients with whom Physician established a treatment relationship prior to the first date
Physician became employed by Baptist (‘Prior Patients”), so long as Physician practices as a
sele-practitioner or as an owner or-employce of -a-practice that is wholly owned by licensed
physicians and not managed by a separate entity, and Physician maintains active membership on
the Hospital medical staff, unless Baptist has requested that Physician voluntarily relinquish
merobership as set forth herein, in which case this requirement shall not be applicable.

e. In the event the provisions of this Section 10 are deemed or declared by a
court of competent jurisdiction to exceed the time, geographic, occupational or other limitations
permitted by applicable law, then such provisions shall be reformed automatically to the
maximum time, geographic, occupational or other limitation held reasonable and enforceable by
such court. The invalidity or non-enforceability of any provision of this Section 10 in any respect
shall not affect the validity or enforceability of the remainder of this Section 10 or of any other
provision of this Agreement.

f The parties acknowledge and agree that, since a remedy at law for any
breach or attempted breach of the provisions of this Section 10 shall be inadequate, Baptist may
be entitled to specific performance and injunctive and other equitable relief in case of any such
breach or attempted breach, in addition to whatever other remedies may exist at law. The parties
waive any requirement for the securing or posting of any bond in connection with the obtaining
of any such injunctive or other equitable relief.

11. Confidentiality of Information.

a, Physician shall maintain the confidentiality of and safeguard all
confidential information of Baptist, including without limitation, patient information, medical
records, patient identifiers, policies, procedures, trade scorets, trade information, business
practices, information systems, security passwords, financial information, proprietary
information, Baptist’s concepts, trademarks, service marks, patient lists, patients, including those
generated by Physician for Baptist, computer programs, business strategies for developing new
patient and new physician relationships, including physician recruitment, cost data, utilization
review techniques, medical management, quality assurance protocols, patents, know-how and
other proprietary processes and such proprietary information included in manuals or memoranda,
as they may now exist or which may be developed during the Physician's employment
(collectively teferred to as “Confidential Information”), and shall not disclose such
Confidential Information or make it available to any person or entity, or uso it in any way other
than 2s contemplated by this Agreement. Such Confidential Information of a proprietary nature
that is generated by or for Baptist or an Affiliate is a valuable, special, and unique asset of any
such entity’s business, access to and knowledge of which are essential to the performance of the
Physician's duties hereander. Physician will not, during or after the Term of Physician’s
employment by Baptist, in whole or in part, disclose such Confidential Information ta any
person, firm, corporation, association or other entity for any reason or purpose whatsoever; nor
shali Physician make use of any such Confidential Information for Physician’s own purposes or
for the benefit of any person, firm, corporation or other entity (except Baptist or an Affiliate)
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under any circumstances. Physician shall further report to Baptist any use or disclosure of
Confidential Information that Physician becomes aware of that is not authorized by this
Agrecment. Physician’s obligations to maintain and safeguard, not to disclose, and to report
unauthorized diseiosures of, Confidential information shall survive the termination ‘of
Physician’s employment. Physician agrees to comply with the Health Insurance Portability and
Accountability Act of 1996 and regulations promulgated thereunder, fo the extent applicable, as
well as other applicable stato and federal laws and regulations, and Baptist and Practice policies
telating to the security, protection and privacy of individually identifiable health care
information. In the event that Physician fails to comply with this provision, Baptist may
immediately terminate this Agreement, in addition to seeking other remedies available to it at
law or equity.

b. Physician agrees to keep the terms of this Agreement confidential and not
disclose without the consent of Baptist any information sbout this Agreement to any third party,
other than Physician’s legal counsel, financial advisor or accountant, unless such disclosure is
required by law, regulation or court order.

c. Physician will assist Baptist and its affiliated hospitals, including Hospital
(“Baptist Hospitals”), in achieving Baptist Hospitals’ quality, patient safety, patient satisfaction
and patient experience goals in order to enhance the quality of care for patients. In furtherance
of these goals, Physician agrees that Baptist Hospitals shall have access, as needed, to any and all
of Baptist’s quality data and records, concerning Physician, including but not limited to,
outcomes data, performance indicator ratings and patient satisfaction metrics related to
Physician's performance of Physician’s duties under this Agreement; and Physician consents to
Baptist providing such information to Baptist Hospitals. Physician further agrees that Baptist
Hospitals may share with Baptist, as needed, Baptist Hospitals’ credentialing, quality and peer
review information, including but not limited to, Baptist Hospitals’ Medical Staff Quality
Committee data, performance indicator ratings and patient satisfaction metrics related to
Physician's performance at Baptist Hospitals; and Physician consents to Baptist Hospitals
providing such information to Baptist. Any information provided by Baptist Hospitals to Baptist
or by Baptist to Baptist Hospitals about Physician as stated above, which is considered and
treated as Patient Safety Work Product and is privileged and confidential, shall also be
considered and treated as Patient Safety Work Product and privileged and confidential by the
recipient,

12. Professional Values and Conduct.

a, Physician understands and agrees that Physician must act in accordance
with Hospital’s stated commitments to compassion, integrity and efficiency and demonstrate
professionalism in all dealings with patients, patient families, Baptist and Hospital staff and
Baptist and Hospital partners, The express purpose of this Section is to ensure that Baptist’s and
Hospital’s respective missions are pursued in an appropriate, cooperative and professional
healthcare environment that exhibits unwavering concern, consideration and esteem for patients,
families and Baptist and Hospital staff and partners. Physician understands and agrees that
failure to act consistently with these commitments and failure to demonstrate appropriate

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professionalism will not be tolerated and can result in immediate termination of this
Agreement, Such inappropriate behavior includes but is not limited to dismissive, intimidating,
rade, abusive, degrading, demeaning or derogatory language or actions directed at patients or

  

b, Baptist reserves the right to implement collegial steps to address
complaints about Physician that might include counseling, wamings, mectings, voluntary
training and reviews. The foregoing notwithstanding, no right to collegial steps or progressive
discipline exists in this Agreement, lt is expressly understood and agreed that a single incident
of inappropriate conduct or pattern of the same or similar inappropriate conduct ray be so
unacceptable that, in Baptist’s sole discretion, immediate termination of this Agreement can
result,

13. Legal and Charitable Purposes. As stated above, Baptist is entering into this
Agreement in furtherance of its legal and. charitable mission. In the event that any state or
federal laws or regulations now existing, or subsequently enacted or promulgated, are interpreted
by judicial decision, regulatory agency or legal counsel for Baptist in such a way as to indicate
that the structure of this Agreement may be in violation of such Jaws or regulations, or, in the
opinion of Baptists counsel, may endanger Baptists nonprofit or tax-exempt status, this
Agreement shall be amended by Baptist to the maximum extent possible to preserve the
underlying arrangement.

. 14. Governing Law & Venue. This Agreement is being delivered and is intended to
be performed in the Commonwealth of Kentucky and shall be construed and enforceable in
accordance with the laws of Kentucky. The parties hereby consent to the jurisdiction and venue
of the circuit court of county in which Hospital is located and of the United States District Court
for the district in which Hospital is located, md hereby waive any objection to the jurisdiction of,
or the venue of any action instituted in, such courts.

15.  Assignmept Prohibited. This Agreement is personal to each of the parties
hereto, and neither party may assign or delegate any rights or obligations hereunder without first
obtaining the written consent of the other; provided, however, that Baptist may assign its rights
and delegate its obligations hereunder to an Affiliate or a successor in interest of Baptist or BHS.

16. Notices, All notices required or permitted hereunder shall be in writing and shall
be deemed to have been daly given if sent by registered or certified mail, postage prepaid, and
return receipt requested to the parties, addressed as follows (or at such other addresses as
designated by the parties from time to time):

If to Physician: Ramon Thomas, M.D.

3181 Brighton Place Drive
Lexington, KY 40509

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If to Baptist: Baptist Health Medical Group, Inc.
2701 Eastpoint Parkway
Louisville, KY 40223

With a copy to: Baptist Healthcare System, Inc.
2701 Eastpoint Parkway
Louisville, KY 40223
Attn: Vice President and Chief Legal Officer

17, ‘Waiver. Failure to insist upon strict compliance with any of the terms, covenants,
or conditions of this Agreement at any one time shall not be deemed a waiver of such term,
covenant, or condition at any other time nor shall any waiver or relinquishment of any right or
power herein at any time be deemed « waiver or relinquishment of the same or any other right or
power at any other time.

18. tire ment. This Agreement (including any exhibity and schedules
attached hereto) contains the entire agreement between the parties concerning the subject matier
contained herein and there are no other terms, covenants, obligations, or representations, oral or
written, of any kind whatsoever. Any modification, addition or alteration of this Agreement
must be in writing and signed by both parties,

19. Severability. In the event any provision of this Agreement is determined to he
invalid or unenforceable, the remaining provisions shall nevertheless be binding upon the
respective parties hereto with the same effect as though the invalid or unenforceable provision
were deleted.

20. Stark IT Requirements. Stark [I regulations require BHS to maintain:

a. a master list of all financial relationships and contracts with physicians
and their immediate family members: and

b the national provider identification number of each physician with whom
Baptist has a financial relationship.

Therefore, attached hereto, and incorporated herein, Exhibit C sets forth all such financial
relationships, contract and national provider identification numbers.

(SIGNATURE PAGE TO FOLLOW)
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INTENDING TO BE LEGALLY BOUND, the parties hereto have executed

this Agreement as ofthe dates set forth below.

 

 

"Baptist" BAPTIST HEALTH MEDICAL GROUP, INC.
Signed:
Stephen K. Tgadvine, M_D., President
Date J S 4 (7
“Physician” “ : _
/Raroon Thomas, NED.

Date: 16 Tas ter

Legal Approval: ray te Haber

Date: January 13,2017

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Raman Thomas, M.D.
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20-Cl-03419 11/11/2020 Vincent Riggs, Fayette Circuit C
EXHIBIT A.
- JOB TITLE: ~ Obstetrics and Gynecology Physician with Baptist Health Medical
Group, Inc.

REPORT TO: President or his/her designee

SUMMARY: Maintains responsibility for the delivery of obstetric and gynecology

services,

DUTIES AND RESPONSIBILITIES:

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Provides daily physician management and treatment of patients at the Practice,

2. Provides clinical services to patients, including diagnosis, treatment and referral.

3, Participates in the establishment of and complies with Baptist policies, procedures,
guidelines, and medical protocol necessary to provide physician practice services,

4. Appropriately refers patients to medical specialists,

5. Complies with Baptist policies, procedures and pricing,

6. Utilizes program forms/computer system for charting.

7. Complies with case management protocols.

8. Agrees to assist with the Practice’s quality assurance and quality improvement plan,

5. Works with Baptist administration to ensure that the Practice operates in s manner
consistent with appropriate medical policy and current professional standards,

10. Participates in community events and periodic marketing activities as time permits. It
is understood that, on occasion, these duties may fall outside of regularly scheduled
office hours.

11, Maintains appropriate telephone contact with patients, payers and pharmacies.

12,  Cooperates with Baptist in the participation of incentive programs that promote the
use of medical technology and reporting of quality indicators to improve health care
(e.g., Medicare’s e-Prescribing Incentive, Physician Quality Reporting Incentive, and
HITECH), inoluding but not limited to, the meaningful use of such technology and
compliance with reporting requirements of such programs.

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Physician Employment
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Advance Practice Clinician (“APC”) Supervision -~ In the event that an APC
is employed in the Practice, Physician will be available to the APC, in the
office, after-hours and by telephone, except when using ATO. Expectations
with regard to supervision of the APC will be consistent with the central
Principle that Physician retains ultimate responsibility for patient care.
Supervision duties include but are not limited to:

a. Continuous availability of direct communication either in person or by
electronic communications between the APC and Physician;

b. The personal review of the APC’s practice at regular intervals including
an assessment of referrals made or consultations requested by the APC
with other health professionals;

c. Regular chart review;

d. The delineations of a plan for emergencies;

e. The designation of an alternate supervising physician in the absence of the
Physician;

f, Review plan for narcotic/controlled substance prescribing and formulary
compliance; and

g. Any other duties or requirements established by law or regulation relating
to the supervision of the APC now existing or as amended.

14. Provides documentation that reflects the patient services actually performed and assigns
CPT codes that are reflective of such patient services,

15. Maintain availability to provide Services to Baptist Patients regardless of patient's age,
payor source, or medical camplexity.

16. Standards of Conduct — Physician will focus on the needs of the patient, treat hospital and
office staff with respect at al} times, follow the health system’s chain of command when
dealing with issues and problems, and demonstrate professional conduct at all times.

17. Values — Physician will demonstrate the values embraced by Hospital, Baptist and BUS
to include: respect, integrity, collaboration, excellence, and stewardship,

18. Any such other duties and activities as reasonably requested by Baptist.

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EXHIBIT B
COMPENSATION AND BENEFITS
1. Compensation,

A. Starting Bonus. Baptist agrees to pay Physician a one-time Starting bonus in the
amount of Fifteen Thousand Dollars ($15,000.00), less applicable wage
withholding (the “Starting Bonus”). The Starting Bonus shall be paid to
Physician within thirty (30) days of the Effective Date of this Agreement,
contingent upon Physician first having successfully completed at least six (6)
hours of E/M Coding University Modules, a compliance orientation and
submission of required annual LMS and ELM education modules. To the extent
that Physician fails to commence and maintain employment with Baptist for a
period of one (1) year from the Effective Date, Physician shell repay Baptist the
Starting Bonus prorated based on the number of pay periods remaining in the first
contract year from the last date of Physician’s employment hereunder. All
amounts paid to Physician shall be included in Physician’s income in the year
received,

B. Annual Base Compensation, During the Term of this Agreement, Physician
shall receive base compensation in the annual amount of Three Hundred

Thousand Dollars ($300,000.00), prorated for any partial contract year, for
providing Services under this Agreement.

C. —_ Productivity Bonus Compensation. During the Term of this Agreement,
Physician shail be eligible for productivity bonus compensation based upon the
number of work Relative Value Units (“wRVUs”) generated from Services
personally performed by Physician. On the measurement periods specified below,
Baptist will calculate the wRVUs of Services personally performed by Physician
during the previous measurement period, as properly posted to the records of
Baptist in accordance with Baptist’s coding and billing compliance requirements
and as described by Current Procedural Terminology (“CPT”) and the wRVUs
assigned to each CPT code under the CMS Resource Based Relative Value Scale,
which CMS updates annually. When calculating Physician’s wRVUs, Baptist
shall include only those Services personally performed by Physician. The
calculation shall not include the technical component of any procedure or
diagnostic test or any services performed by an advanced practice clinician even if
such services are billed incident to Physician’s Services. Physician will receive
WRVUs for Services Physician is authorized to report, which are eligible for
reimbursement, and for Services for which Physician has timely completed all
medical record documentation. Baptist will make adjustments to Physicijan’s
wRVUs when payment-affecting modifters are appended to line-item claim detail.
Baptist will follow prevailing market auditing and editing methodologies,
including, but not limited to, the National Correct Coding Initiative edits,
American Medical Association coding standards, specialty society guidance, and

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other prevailing industry standards as deployed during claims processing.

During the Term of this Agreement, Physician’s productivity bonus compensation
will be based npon the total number of wRVUs.achieved above the target of 7,692
wRVUs per contract year (the “Annual Target”), 1,923 wRVUs per quarterly
period (the “Quarterly Target”), for Services personally performed by
Physician, multiplied by e conversion factor of Thirty-Nine Dollars ($39.00) per
wRVU (“Conversion Factor”). To the extent that Physician fails to meet the
Quarterly Target (a “Productivity Deficit’) during any quarterly period, the
Productivity. Deficit will be carried forward to the next quarterly period of the
same contract year. In that regard, the total wRVUs attributable to such next
quarterly period will be off-set by the Productivity Deficit from the prior quarterly
period of the same contract year. The productivity bonus compensation, if any,
shall be paid to Physician within forty-five (45) days of the end of the prior
quarterly period.

D, Annual Reconciliation. Notwithstanding the above, Physician’s productivity
bonus compensation is subject to an annual reconciliation, as described below.
Within forty-five (45) days after the end of each year of Physician’s employment,
Baptist will perform « reconciliation of: (i) the actual productivity bonus
compensation eared by Physician based upon the total wRVUs personally
performed by Physician during that year of employment; and (ii) the total of the
quarterly productivity bonus payments made to Physician by Baptist during that
year of employment. In performing such reconciliation, Baptist will calculate the
total wRVUs personally performed by Physician for the year and multiply the
number of wRVUs above the Annual Target, if any, by the Conversion Factor to
determine Physician's total annual productivity bonus compensation, if any. If
Physician (a) did not earn a productivity bonus based upon fhe annual
reconciliation (i.¢., a productivity bonus of $0.00); or (6) if Physician did cam
productivity bonus compensation based on the reconciliation, but Physician's
annua! productivity bonus compensation earned is less than the total of
Physician's quarterly productivity bonus compensation paid by Baptist in such
year; then the difference (“Excess Compensation”) shall be paid back to Baptist
within ninety (90) days of the completion of such reconciliation. If Physician's
total annual productivity bonus compensation is more than the total of the
quarterly productivity bonus compensation payments made to Physician by
Baptist in such year, then Baptist shall compensate Physician in an amount equal
to such difference within forty-five (45) days of such reconciliation. If this
Agreement is terminated or expires before the performance of the annual
reconciliation, and to the extent that Physician receives Excess Compensation
during such year, then Physician shall pay to Baptist the amount of the Excess
Compensation received, within thirty (30) days of such termination or expiration.
If Physician fails to repay any Excess Compensation in the applicable amount of
time allotted above, Physician acknowledges and agrees that Baptist may deduct
Excess Compensation from compensation otherwise due to Physician from

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Baptist and may withhold such amounts from Physician's bi-weekly paycheck
until the Excess Compensation has been paid back to Baptist in full,

 
 
 
 

   
  
  

Duality Incentive Bonus C msation. During each contract year of this
Agreement, Physician will be eligible to earn quality incentive bonus
compensation based on Physician’s completion of certain quality metrics, The
amount available as quality incentive bonus compensation (the “Quality Bonus
Pool”) in each contract year of this Agreement shall be Thirty Thousand Dollars
Dollars ($30,000.00). . All Quality Bonus Pool compensation will be paid on a
pro-ratz basis based on the number of quality metrics actually achieved by
Physician, as evaluated and determined by Baptist (the “Quality Bonus”). The
foregoing notwithstanding, for purposes of determining the Quality Bonus, during
any contract year that E/M Coding University is a quality metric applicable to
Physician, the Quality Bonus Pool for that contract year shall be reduced by the
dollar amount assigned to the E/M Coding University metric prior to applying the
weights attributed to the other quality metrics for that contract year. The current
quality metrics are as follows:

1. Completion of E/M Coding University ($5,000.00). Physician will be

eligible to receive the above-referenced amount of the Quality Bonus Pool!
by completing six (6) hours of CME using E/M Coding University Online
Modules. In order to receive this portion of the Quality Bonus Pool,
Physician must complete all courses and modules assigned to Physician by
Baptist and provide printed proof of completion. Baptist shall compensate
Physician for this portion of the Quality Bonus, if eamed, within forty-five
(45) days of the completion of all of the assigned courses and modules,

2. Patient Satisfaction (Weight = 25%). Physician will be cligible to
receive this portion of the Quality Bonus Pool if Physician achieves a
patient satisfaction survey score equal to or greater than 85% for the
applicable contract year(s) of this Agreement,

3, Smoking Cessation (Weight = 25%). Physician will be eligible to receive
this portion of the Quality Bonus Pool based on the percentage of patients
aged cighteen (18) years or older who were screened for tobacco use one
(1) or more times within twenty-four (24) months and who received
cessation counseling intervention if identified as a tobacco user. In order
to receive this portion of the Quality Bonus Pool, Physician must achieve
a percentage rate of at least eighty-five percent (85%).

4, Medication Reconciliation (Weight = 25%). Physician will be eligible to
receive this portion of the Quality Bonus Pool based on the percentage of
visits for Baptist Patients aged eighteen (18). years or older for which
Physician attests to documenting a list of current medications using all
immediate resources available on the date of the visit. The documented
list must include all known prescriptions, over-the-counters, herbals, and

      

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Physician

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vitamin/mineral/dietary (i.e., nutritional) supplements and must contain
the medications’ name, dosage, frequency, and route of administration, If
Physician attests to such documentation for at least 90% of visits for
Baptist Patients aged eighteen (18) or ofder in-x cotitract year, Physician
will be cligible to receive 100% of this portion of the Quality Bonus Pool.

5. BMI Screening and Follow-up (Weight = 25%). Physician will be
eligible to receive this portion of the Quality Bonus Pool based on the
percentage of patients aged cighteen (18) or older with a BMI documented
during the current encounter or during the prior six (6) months, and with a
BMI outside of normal parameters, for whom a follow-up pian is
documented during the encounter or during the prior six (6) months of the
current encounter. If Physician satisfies this metric for at least 90% of
qualifying patients in a contract year, Physician will be eligible to receive
this portion of the Quality Bonus Pool.

For each contract year of this Agreement, quality metrics may be identified and
defined by Baptist and, if different from those set forth above, will be provided by
Baptist to Physician. Unless otherwise stated in the metric, Physician must be
ernployed by Baptist for the entirety of the applicable measurement period (e.g.,
contract year if performance under the metric is measured on an annual basis) to
be eligible for the applicable Quality Bonus compensation. Physician will not be
required to be employed at the time of payment of any Quality Bonus earned so
long as the foregoing requirement is satisfied, All Quality Bonus compensation
will be paid on a pro-rata basis based on the number of metrics actually achieved
by Physician as evaluated and determined by Baptist, Baptist shall use
commercially reasonable efforts to compensate Physician for any Quality Bonus
earned during a contract year within forty-five (45) days of the end of such
contract year.

Maximum Compexsation. The sum of each element of compensation paid to
Physician is herein referred to as “Total Cash Compensation.” In no event shall
the Total Cash Compensation in any contract year paid to Physician hereunder
exoved the then-current 75” percentile of the physician compensation report
issued by Medical Group Management Association for Physician's specialty,
prorated for any partial contract year.

Additional Physician Benefits.

Allowed Time Off. Notwithstanding Section 4,2, of this Agreement, Physician’s
time away from the Practice will be subject to Baptist’s policy for Allowed Time
Off (“ATO”), and Physician may take up to thirty-six (36) days ATO each
calendar year pursuant to such policy, which wil! be prorated if Physician begins
employment after January 1* of the calendar year. Accordingly, Physician will
not accrue time for sick leave, holidays, paid time off, or continuing medical

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Physician Employment Agreement
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education Pursuant to the terms of Baptist’s employee handbook and policies.
Physician may carry over up to twenty (20) days of ATO each calendar year,

All compensation paid to Physician is subject to all applicable city,
state, federal, and other withholding taxes.

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EXRIBIT C

Stark I regulations require Baptist and BHS to maintain a master list of all financial
lati hi and t is with vt ae ttheiry fint fi ily 4 i

Describe below all financial reistionships and contracts between Baptist or BHS and Physician
and with immediate family members of Physician.

 

Legal Name of Party in Describe Services Provided | Begin Date and Ifa family member,
Relationship with Baptist or | Under the Relationship - | Termof state relationship to
BHS? Contract physician

 

 

 

 

 

 

 

 

 

 

 

If additional space is needed please attach additional page to contract.
The name and national provider identification number (NPI) of Physician”

Ramon

 

If additional space is needed please attach additional page to contract.

1. Immediate Family Member or Member of a Physician’s immediate Family means hushand or
wife; birth or adoptive parent, child or sibling; stepparent, stepchild, stepbrother, or
stepsister, father-in-law, mother-in-law, sonin-law, daughter-in-law, brother-in-law, sister-in-
law; grandparent or grandchild; and spouse of a grandparent or grandchild.

2, Identify all contracts and financial relationships between Physician and Baptist or BHS, and
between family members of physician and Baptist or BHS.

3. Stark II regulations require Baptist and BHS maintain, readily available, the NPI of each
physician who has a financial relationship with Baptist or BHS.

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Ramon Thomas, M.D,
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20-C1-03419 11/11/2020 Vincent Riggs, Fayette Cir G
2701 Eastpoint Parkway
gj» BAPTIST HEALTH ener
, : MEDICAL GROUP
October 10, 2019
VIA EMAIL AND CERTIFIED MAHL «
Ramon Thomas, M.D. RETURN. RECEIPT REG IUESTED
3181 Brighton Place Drive
Lexington, KY 40509

RE: Termination of Employment Agreement
Dear Dr. Thomas:

This letter is to provide you notice that, pursuant to Section 9.d. of the Physician Employment Agreement entered
into by and between you and Baptist Health Medical Group, Inc. (“Baptist”) effective on or around March 6,
2017 (the “Agreement”), Baptist is terminating the Agreement effective sixty (60) days from the date of this
letter (the “Notice Period”), While you will continue to be employed by Baptist during the Notice Period, you
will not be scheciuied by -Baptist-to-provide any further services under the Agreement. Baptist will continue to
provide benefits, and will continue to compensate you per the terms of the Agreement, through expiration of the
Notice Period. In that regard, Baptist will provide you sixty (60) days’ compensation during the Notice Period,

less applicable taxes and withholdings, in bi-weekly payments pursuant to Baptist’s normal payroll schedule.

Baptist will also provide you with a statement of calculation of such compensation for your records. Baptist’s

contributions for health care coverage and life insurance, if any, will continue until the end of the month in which

you receive your last payment.

Additionally, Section 9.f. of the Agreement states, “[u]pon termination of this Agreement, Physician agrees to
voluntarily relinquish Physician’s medical staff appointment and privileges at Hospital upon request of Baptist.”
Pursuant to Section 9.f. of the Agreement, Baptist hereby requests that you voluntarily relinquish your medical
staff appointment, membership and privileges st Baptist Health Lexington effective immediately. A form letter to
this effect is attached hereto, for your convenience, to use to notify the Baptist Health Lexington Medical Staff

Office.

Please be reminded that all duties and obligations under the Agreement remain; including, without limitation,
your obligations to: (i) comply with all policies and procedures of Baptist and Baptist Healthcare System, Inc.
pursuant to Section 3.c. of the Agreement; (ii) cooperate in the orderly transfer of patients pursuant to Section 9h,
of the Agreement; (iii) not solicit or disrupt the relationship between Baptist and any employee or patient of
Baptist pursuant to Section 10.c. of the Agreement; and (iv) maintain confidentiality pursuant to Section 11 of the

Agreement.

If you have any questions or concerns regarding benefits or any other human resources issues, please feel free to
contact Sue Christopher, Vice President of Human Resources for Baptist Health Medical Group, Inc., at (502)
489-8654 or sue.christopher@bhsi.com.

We appreciate the service you have provided to Baptist and wish you the best of luck in the future.

 

Regards,
ARM Shaadi ao 8 RSE se ma VD
Shelley Shaughnessy =
Chief Operating Officer
Baptist Health Medical Group, Inc.

ct! Catherine A. Zoeller
Vite Président — Physician Integration
Baptist Health Medical Group, Inc.

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EXHIBIT B

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October 10, 2019

Baptist Health Lexington
1740 Nicholasville Road
Lexington, KY 40503

Dear Medical Staff Office:

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Please accept this letter as resignation of my medical staff appointment, membership and privileges at
Baptist Health Lexington effective as of 11:59 p,m. on October 10, 2019.

Sincerely,

Ramon Thomas, M.D.

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7 October 2019

To whom if may concern,

| write this letter humbly requesting an audience to plead my case to remain a member of the medical
staff here at Baptist Health Lexington. Regrettably, | failed to reach out to the administration ina
proactive way that would have certainly gotten me the help | needed and likely resolved the problems
that have now caused this disastrous situation and painful request, Unbeknownst to you, over the past
18 months, several issues have been in play that have negatively affected my relationships at home and
my performance at work. Issues that have been kept quiet by me, as they were personal and quite
sensitive in nature. | felt as though if | just “powered through” them, | could correct the issues—and the
additional problems—they were creating. Unfortunately, | was neither insightful enough nor adequately
prepared to deal with them in a way that could stop them from continuing to be problematic.
Admittedly, these issues caused me to make multiple poor and detrimental decisions that impacted me
personally and professionally. Thankfully, over the last 10 months, with the help of my psychologist, I’ve
been able to slowly identify, address and resolve these Issues in a way that has strengthened my most
important relationships and improved my performance at work. Aithough | am far from finished, |
believe that I’ve made substantial efforts to climb out of the personal and professional “holes” | created.

Baptist provides me a phenomenal opportunity to be successful physician. My practice here is
flourishing and I’m seeing more patients than | ever have before. The facilities are top notch and provide
an environment patients desire, Patients consistently express their complete satisfaction with my care
as evidenced by their evaluations of me. | have great obstetric and surgical outcomes and few
complications: | consistently reach—and routinely exceed—wRVU benchmarks. | have fantastic partners.
that create a collegial and supportive environment. Amazingly, these things are being accomplished
DESPITE my personal issues. And | firmly believe that these things can continue to improve and grow in
this environment as | continue to improve and grow.

Although | am wholly uncertain of where this decision has arisen from, | am sure there must be some
other solutions outside of this abrupt and harsh course of action. | am willing to do whatever it takes to
prove that the only thing needed for me to reach my potential with this hospital is for me to continue to
resolve my personal issues, Once that is done, you will all be able to see that keeping me was the right
decision. | look forward to the chance to speak with you collectively or individually about this so we can
talk in more detail and come up with much less drastic decisions. Thank you for giving me the chance to

continue righting the ship.

Sincerely,

Ramon Thomas, MD, MBA

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EXHIBIT €

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